Case 1:18-cv-01761-MSK-NYW Document 162 Filed 09/09/21 USDC Colorado Page 1 of 2




                     UNITED STATES DISTRICT COURT
                                                  for the
                                       District of Colorado
                                 Case No. 18-CV-01761-MSK-NYW

                  Tiffany Grays, pro se

                        Plaintiff(s)

                          -V-                               Notice of Appeal

      Auto Mart USA, LLC; Jorge Pacheco;
   Auto Mart USA2; Daniel Ramirez, Jay Barbar;
   Donnie McElroy; Marco Sandoval; Auto Mart;

                      Defendant(s)



          Notice is hereby given that Plaintiff Tiffany Grays hereby appeals to the United States

   Court of Appeals for the Tenth Circuit from the final judgment entered in this action on the 20 th

   day of August 2021. No transcript will be ordered.

                                          Respectfully Submitted,

                                                                             /s/ Tiffany Grays, pro se


                                                                                Tiffany Grays, pro se
                                                                                     PO Box 472322
                                                                                   Aurora CO, 80047
                                                                                      (720) 623-1883
                                                                              Legalgrays@gmail.com




                                                    1
Case 1:18-cv-01761-MSK-NYW Document 162 Filed 09/09/21 USDC Colorado Page 2 of 2




                     UNITED STATES DISTRICT COURT
                                                for the
                                      District of Colorado
                               Case No. 18-CV-01761-MSK-NYW




                          CERTIFICATE OF SERVICE

   In accordance with Federal and Local Rules, I hereby certify that on the 9 th day of August 2021,
   I have filed the foregoing with the Clerk using the CM/ECF system, which will send a true copy
   thereof to the following recipients, via the CM/ECF system.


   DOCUMENT: Notice of Appeal
          Auto Mart et al.
          C/O Michael McKinnon
          mgmckinnon@msn.com
          P: 303-438-4000
                                                                            /s/ Tiffany Grays, pro se


                                                                               Tiffany Grays, pro se
                                                                                    PO Box 472322
                                                                                  Aurora CO, 80047
                                                                                     (720) 623-1883
                                                                             Legalgrays@gmail.com




                                                   2
